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                      Exhibit 2b
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                                                      Infringement Contentions – Asana’s iOS Mobile Apps
                                                                          U.S. Patent No. 5,991,399
Claim                                  Analysis
1. A method of securely distributing   Asana’s mobile software application products and services including by way of example, but not limited to the following apps (“mobile applications”,
data comprising:                       “mobile apps” or “Accused Products”) that are specifically developed, used, sold, offered for sale, marketed, licensed and distributed by Asana to be
                                       downloaded onto Apple iOS mobile or tablet devices.

                                                  Asana: organize tasks & work (https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512), Last accessed on Mar 19, 2020

                                       Asana directly infringes and/or continues to knowingly induce Apple to infringe this claim by intentionally developing, making, marketing, advertising,
                                       providing, sending, distributing and licensing its mobile applications software, documentation, materials, training or support and aiding, abetting,
                                       encouraging, promoting or inviting use thereof.

                                       To the extent any steps identified herein are performed by Apple, such acts are attributable to Asana (i) because Asana works together with Apple in
                                       a joint enterprise in the building and distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s mobile apps under the
                                       direction and control of Asana, or acts as agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s mobile apps.

                                       Alternatively, any steps or acts performed by Asana, are attributable to Apple, who conditions participation in and the receipt of a benefit, namely,
                                       the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory procedures and guidelines dictated by Apple
                                       in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the building, marketing and distribution of Asana’s
                                       mobile apps.

                                       To the extent the preamble is limiting, Asana distributes data according to the method of claim 1 as set forth below.

                                       In order to build and send the mobile app securely to the Apple servers, Defendant practices the method of claim 1 as set forth below in order to
                                       securely distribute its mobile app to Defendant’s customers through the Apple App Store. As described below, Defendant registers with the App
                                       Store Connect portal (https://appstoreconnect.apple.com, Last accessed on Mar 19, 2020) in order to securely upload Asana’s apps onto the Apple
                                       App Store, as evidenced by the “https” in its URL.
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Source: https://developer.apple.com/support/app-store-connect/, Last accessed on Mar 19, 2020
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Source: https://help.apple.com/app-store-connect/#/devcd5016d31, Last accessed on Mar 19, 2020
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    generating an asymmetric key pair         The Court previously construed1 “an asymmetric key pair having a public key and a private key” in claim 1 to mean “one or more asymmetric key
    having a public key and a private key;    pairs, one of the asymmetric key pairs having the claimed public key and claimed private key, the asymmetric keys of an asymmetric key pair being
                                              complementary by performing complementary functions, such as encrypting and decrypting data or creating and verifying signatures.”

                                              Also relevant to this claim element is the Court’s previous construction of “executable tamper resistant key module” / “executable tamper resistant
                                              code module” / “tamper resistant key module” to mean “software that is designed to work with other software, that is resistant to observation and
                                              modification, and that includes a key for secure communication.”

                                              Also relevant to this claim element is the Court’s rejection of limiting “including” to compiling.

                                              Upon information and belief, the method step of “generating an asymmetric key pair having a public key and a private key” is performed by Apple
                                              and/or its agents – whose acts are attributable to Asana (i) because Asana works together with Apple in a joint enterprise in the building and
                                              distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s mobile apps under the direction and control of Asana, or acts as
                                              agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s mobile apps.

                                              Asana uploads their mobile apps to Apple using a TLS connection – which begins with a TLS handshake. A TLS handshake is a mandatory procedure
                                              that allows Asana and Apple to exchange cryptographic parameters, including a cipher suite and arrive at a shared master secret for encrypting
                                              communication including upload of Asana’s mobile apps to Apple servers.

                                              A TLS handshake begins with Asana sending a list of cipher suites supported by Asana to Apple. These cipher suites specify at least one or more of the
                                              following key exchange algorithms:




1
    See Memorandum Opinion and Order, Document 104 signed by Judge Rodney Gilstrap on 7/21/2016 in re Plano Encryption Technologies, LLC v. American Bank of Texas (2:15-cv-01273).
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Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020

Each of these algorithms necessitates generating one or more asymmetric key pairs.

For RSA and RSA _PSK, an Apple server generates an RSA public-private key pair. The RSA public key and the RSA private key are complementary, by
performing complementary function encrypting and decrypting data.
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                                              For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Apple server generates an RSA public-private key pair as well as a Diffie-Hellman (“DH”) public-
                                              private key pair2. Asana also generates a second Diffie-Hellman public-private key pair. The RSA public key and the RSA private key are
                                              complementary by performing complementary functions, such as creating and verifying signatures. The Diffie-Hellman public key and the Diffie-
                                              Hellman private key are also complementary by performing complementary functions, such as encrypting and decrypting data. Specifically, as per the
                                              Diffie-Hellman key exchange algorithm, Asana uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to
                                              compute a premaster secret and thereon a master secret3 for encrypting data. Apple in turn uses Asana’s Diffie-Hellman public key combined with
                                              Apple’s own Diffie-Hellman private key to compute the same premaster secret and the master secret for decrypting encrypted data from Asana.
                                              Conversely, Apple uses Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-Hellman private key to compute a premaster secret and
                                              thereon, a master secret4 for encrypting data. Asana uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to
                                              compute a premaster secret and thereon a master secret for decrypting encrypted data from Apple.

                                              For DHE_DSS and DH_DSS, Apple server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. Asana also
                                              generates a second Diffie-Hellman public-private key pair. The DSA public key and the DSA private key are complementary by performing
                                              complementary functions, such as creating and verifying signatures. The Diffie-Hellman public key and the Diffie-Hellman private key are also
                                              complementary by performing complementary functions, such as encrypting and decrypting data. Specifically, as per the Diffie-Hellman key
                                              exchange algorithm, Asana uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a premaster
                                              secret and thereon a master secret5 for encrypting data. Apple in turn uses Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-
                                              Hellman private key to compute the same premaster secret and the master secret for decrypting encrypted data from Asana. Conversely, Apple uses
                                              Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-Hellman private key to compute a premaster secret and thereon, a master




2
 ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair.(Last accessed on Mar 19, 2020)
3
  The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
4
  The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
5
  The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
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                                              secret6 for encrypting data. Asana uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a
                                              premaster secret and thereon a master secret for decrypting encrypted data from Apple.

                                              For ECDH_ECDSA and ECDHE_ECDSA, an Apple server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair.
                                              Asana also generates a second Diffie-Hellman public-private key pair. The ECDSA public key and the ECDSA private key are complementary by
                                              performing complementary functions, such as creating and verifying signatures. The Diffie-Hellman public key and the Diffie-Hellman private key are
                                              also complementary by performing complementary functions, such as encrypting and decrypting data. Specifically, as per the Diffie-Hellman key
                                              exchange algorithm, Asana uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a premaster
                                              secret and thereon a master secret7 for encrypting data. Apple in turn uses Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-
                                              Hellman private key to compute the same premaster secret and the master secret for decrypting encrypted data from Asana. Conversely, Apple uses
                                              Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-Hellman private key to compute a premaster secret and thereon, a master
                                              secret8 for encrypting data. Asana uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a
                                              premaster secret and thereon a master secret for decrypting encrypted data from Apple.




6
  The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
7
  The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
8
  The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
    Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 9 of 97 PageID 135




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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Source: https://tools.ietf.org/html/rfc5246 at 50-51, Last accessed on Mar 19, 2020
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Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

In addition, Asana and/or Apple also generate additional asymmetric key pairs for code-signing the mobile app prior to upload and during TLS
communications during the operation of the mobile app.

Thus, at least one asymmetric key pair is generated having the claimed public key and claimed private key in building the tamper resistant app so that
the mobile app code and metadata can be sent securely to the Apple servers by SSL/TLS. This asymmetric key pair (as with the asymmetric key pair
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                                     used to digitally sign the app) is complementary as described below by performing complementary functions, such as encrypting and decrypting data
                                     and/or creating and verifying signatures. As described in greater detail below, the claimed public and private key are generated and used to securely
                                     upload the mobile app onto the Apple servers by SSL/TLS when building the app, where the app includes the generated private key of the claimed
                                     asymmetric key pair and the encrypted predetermined data that has been encrypted with the generated public key of the claimed key pair.

encrypting predetermined data with   In order to send the mobile app code securely to the Apple servers, data that is determined prior to encryption including for example, the pre-master
the generated public key;            secret, is encrypted with the generated public key of the claimed asymmetric key pair, as part of the SSL/TLS process. That process necessarily uses
                                     the public key of the generated asymmetric key pair to encrypt data including by way of example, the pre-master secret that is used to create a
                                     symmetric key for secure communications.

                                     Upon information and belief, the method step of “encrypting predetermined data with the generated public key” is performed by Asana and/or its
                                     agents.

                                     To the extent any portion of the method step is performed by Apple and/or its agents, such acts are attributable to Asana (i) because Asana works
                                     together with Apple in a joint enterprise in the building and distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s
                                     mobile apps under the direction and control of Asana, or acts as agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s
                                     mobile apps.

                                     When Asana uploads its mobile apps to Apple, it connects to Apple App Store Connect portal using SSL/TLS protocol. Apple and Asana perform a TLS
                                     handshake procedure which uses asymmetric key encryption and necessitates generation of at least one asymmetric key pair. Specifically, Asana
                                     negotiates with Apple a cipher suite and the key exchange algorithm that will be used for the handshake.

                                            The cryptographic parameters of the session state are produced by the
                                         TLS Handshake Protocol, which operates on top of the TLS record
                                         layer. When a TLS client and server first start communicating, they
                                         agree on a protocol version, select cryptographic algorithms,
                                         optionally authenticate each other, and use public-key encryption
                                         techniques to generate shared secrets.

                                         The TLS Handshake Protocol involves the following steps:

                                         - Exchange hello messages to agree on algorithms, exchange random
                                           values, and check for session resumption.
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    - Exchange the necessary cryptographic parameters to allow the
      client and server to agree on a premaster secret.

    - Exchange certificates and cryptographic information to allow the
      client and server to authenticate themselves.

    - Generate a master secret from the premaster secret and exchanged
      random values.

    - Provide security parameters to the record layer.

    - Allow the client and server to verify that their peer has
      calculated the same security parameters and that the handshake
      occurred without tampering by an attacker.

Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020


       The actual key exchange uses up to four messages: the server
    Certificate, the ServerKeyExchange, the client Certificate, and the
    ClientKeyExchange. New key exchange methods can be created by
    specifying a format for these messages and by defining the use of the
    messages to allow the client and server to agree upon a shared
    secret. This secret MUST be quite long; currently defined key
    exchange methods exchange secrets that range from 46 bytes upwards.

    Following the hello messages, the server will send its certificate in
    a Certificate message if it is to be authenticated. Additionally, a
    ServerKeyExchange message may be sent, if it is required (e.g., if
    the server has no certificate, or if its certificate is for signing
    only). If the server is authenticated, it may request a certificate
    from the client, if that is appropriate to the cipher suite selected.
    Next, the server will send the ServerHelloDone message, indicating
    that the hello-message phase of the handshake is complete. The
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    server will then wait for a client response. If the server has sent
    a CertificateRequest message, the client MUST send the Certificate
    message. The ClientKeyExchange message is now sent, and the content
    of that message will depend on the public key algorithm selected
    between the ClientHello and the ServerHello. If the client has sent
    a certificate with signing ability, a digitally-signed
    CertificateVerify message is sent to explicitly verify possession of
    the private key in the certificate.

Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

      The TLS Handshaking Protocols

    TLS has three subprotocols that are used to allow peers to agree upon
    security parameters for the record layer, to authenticate themselves,
    to instantiate negotiated security parameters, and to report error
    conditions to each other.

    The Handshake Protocol is responsible for negotiating a session,
    which consists of the following items:

    session identifier
      An arbitrary byte sequence chosen by the server to identify an
      active or resumable session state.

    peer certificate
     X509v3 [PKIX] certificate of the peer. This element of the state
     may be null.

    compression method
     The algorithm used to compress data prior to encryption.

    cipher spec
      Specifies the pseudorandom function (PRF) used to generate keying
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      material, the bulk data encryption algorithm (such as null, AES,
      etc.) and the MAC algorithm (such as HMAC-SHA1). It also defines
      cryptographic attributes such as the mac_length. (See Appendix
      A.6 for formal definition.)

    master secret
     48-byte secret shared between the client and server.

    is resumable
      A flag indicating whether the session can be used to initiate new
      connections.

    These items are then used to create security parameters for use by
    the record layer when protecting application data. Many connections
    can be instantiated using the same session through the resumption
    feature of the TLS Handshake Protocol.

Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

As explained above, Asana and Apple negotiate a key exchange algorithm from among the following key exchange algorithms:
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Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

For each of the above key exchange algorithms, Apple and/or Asana encrypts predetermined data using the generated public key(s).

For RSA and RSA _PSK, Asana encrypts a random premaster secret with Apple’s RSA public key and sends the encrypted premaster secret to Apple.
Apple decrypts the premaster secret with its matched RSA private key. Asana and Apple both use the premaster secret to compute a master secret
which is then used by both Asana and Apple to encrypt all subsequent communications between Asana and Apple. Therefore, when any of RSA and
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                                             RSA _PSK algorithms are chosen during a TLS handshake, Asana encrypts predetermined data (i.e. the premaster secret) with the generated public
                                             key (i.e. Apple’s RSA public key).

                                             For the other key exchange algorithms, namely Diffie-Hellman based algorithms such as DHE_RSA, ECDHE_RSA, DH_RSA, DHE_DSS, DH_DSS,
                                             ECDH_RSA, ECDH_ECDSA and ECDHE_ECDSA, Asana sends its Diffie-Hellman public key9 to Apple while Apple sends its Diffie-Hellman public key to
                                             Asana. Asana then uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a premaster secret.
                                             Apple in turn uses Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-Hellman private key to compute the same premaster secret.
                                             Asana and Apple both use the premaster secret to compute a master secret10 which is then used by both Asana and Apple to encrypt all subsequent
                                             communications between Asana and Apple.

                                             Therefore, when any of the Diffie-Hellman based key exchange algorithms are chosen during a TLS handshake, Asana encrypts predetermined data,
                                             i.e. all communication with Apple subsequent to the TLS handshake, including at least the executable compiled code related to its mobile apps and
                                             information such as name, category, screenshots and description related to Asana’s mobile apps, with the generated public key, i.e. Apple’s Diffie-
                                             Hellman public key, since the master secret used to encrypt the predetermined data is a combination of Apple’s Diffie-Hellman public key and
                                             Asana’s Diffie-Hellman private key11.

                                             Similarly, when any of the Diffie-Hellman based key exchange algorithms are chosen during a TLS handshake, Apple encrypts predetermined data, i.e.
                                             all communication with Apple subsequent to the TLS handshake, including at least textual and graphic data and software relating to Apple App Store
                                             Connect website and forms that Asana uses for uploading its mobile app to Apple App Store, with the generated public key, i.e. Asana’s Diffie-
                                             Hellman public key, since the master secret used to encrypt the predetermined data is a combination of Asana’s Diffie-Hellman public key and
                                             Apple’s Diffie-Hellman private key12.
    and                                      Relevant to this claim element is the Court’s previous construction13 of “executable tamper resistant key module” / “executable tamper resistant
    building an executable tamper            code module” / “tamper resistant key module” to mean “software that is designed to work with other software, that is resistant to observation and
    resistant key module identified for a
    selected program, the executable

9
  For Diffie-Hellman (DH) based algorithms such as DH_RSA, DHE_RSA, ECDH_RSA, ECDHE_RSA, DH_DSS, DHE_DSS, ECDH_ECDSA and ECDHE_ECDSA, Apple calculates a hash of the message containing their Diffie-
Hellman public key and encrypts the hash with their RSA/DSA/ECDSA private key (i.e. signing the message). Apple then sends that RSA/DSA/ECDSA public key to Asana in a digital certificate so that Asana can
authenticate the Apple server by decrypting the hash using Apple’s public key and matching the decryption result to a hash of the received message as calculated by Asana itself. If the two values match, Asana
knows that the message originated from Apple and not from a malicious third party.
10
   The master secret obtained from the premaster secret may be hashed according to a hashing algorithm also specified in the cipher suite in order to remove weak bits, as explained in
https://tools.ietf.org/html/rfc5246, Sections 6.3, 7.4.9 and 8.1.
11
   See, for example, https://tools.ietf.org/html/rfc2631, Page 2, Last accessed on Mar 19, 2020
12
   Id.
13
   See Memorandum Opinion and Order, Document 104 signed by Judge Rodney Gilstrap on 7/21/2016 in re Plano Encryption Technologies, LLC v. American Bank of Texas (2:15-cv-01273).
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 tamper resistant key module including        modification, and that includes a key for secure communication.” Also relevant to this claim element is the Court’s previous rejection of limiting
 the generated private key and the            “including” to compiling14.
 encrypted predetermined data.
                                              The method step of “building an executable tamper resistant key module identified for a selected program, the executable tamper resistant key
                                              module including the generated private key and the encrypted predetermined data” is performed by Asana and/or its agents.

                                              To the extent any portion of the method step is performed by Apple and/or its agents, such acts are attributable to Asana (i) because Asana works
                                              together with Apple in a joint enterprise in the building and distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s
                                              mobile apps under the direction and control of Asana, or acts as agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s
                                              mobile apps.

                                              Building of an “executable tamper resistant code module” (that is, the mobile app) requires the inclusion of at least the following different
                                              asymmetric key pairs:

                                              (1)    An asymmetric key pair must be included in order to send the mobile app from Asana to Apple securely by SSL/TLS; and
                                              (2)    An asymmetric key pair must be included by Asana in order to digitally sign the mobile app with a private asymmetric key and to verify the
                                              mobile app has not been changed with the public key for iOS compatible mobile apps.

                                              The asymmetric key pair that is included to digitally sign the mobile app is different from and in addition to the claimed asymmetric key pair used to
                                              securely upload the mobile app to the Apple servers for distribution on the Apple App Store.

                                              Thus, at least one asymmetric key pair is included having the claimed public key and claimed private key in building the tamper resistant app so that
                                              the mobile app code can be sent uploaded to the Apple servers using SSL/TLS protocol. This asymmetric key pair(s) (as with the asymmetric key pair
                                              used to digitally sign the app) is complementary as described below by performing complementary functions, such as encrypting and decrypting data
                                              and/or creating and verifying signatures. As described in greater detail below, the claimed public and private key are generated and used to securely
                                              upload the mobile app onto the Apple servers by SSL/TLS when building the app, where the app includes the generated private key of the claimed
                                              asymmetric key pair(s) and the encrypted predetermined data.

                                              Asana uploads their mobile apps to Apple using a TLS connection – which begins with a TLS handshake. A TLS handshake is a mandatory procedure
                                              that allows Asana and Apple to exchange cryptographic parameters, including a cipher suite and arrive at a shared master secret for encrypting
                                              communication including upload of Asana’s mobile apps to Apple servers.

14
  Also relevant is the Court’s construction of “an asymmetric key pair having a public key and a private key” in claims 1, 9 and 10 to mean “one or more asymmetric key pairs, one of the asymmetric key pairs
having the claimed public key and claimed private key, the asymmetric keys of an asymmetric key pair being complementary by performing complementary functions, such as encrypting and decrypting data or
creating and verifying signatures.”
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A TLS handshake begins with Asana sending a list of cipher suites supported by Asana to Apple. These cipher suites specify at least one or more of the
following key exchange algorithms:




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

For each of the key exchange algorithms, Asana and/or Apple build an executable tamper resistant key module that includes the generated private
key and the encrypted predetermined data.
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For RSA and RSA _PSK, the executable tamper resistant key module includes encrypted predetermined data (i.e. the encrypted premaster secret) as
it would be impossible for Asana to send its mobile app to Apple using SSL/TLS without encrypting a premaster secret and sending it to Apple. The
executable tamper resistant key module also includes:
    1. Apple’s RSA private key corresponding to Apple’s RSA public key used by Asana to encrypt the premaster secret.
    2. Asana’s private key used to code-sign the mobile app.

For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, the executable tamper resistant key module includes encrypted predetermined data (i.e. all
communication with Apple subsequent to the TLS handshake, including at least the executable compiled code related to its mobile apps and
information such as name, category, screenshots and description related to Asana’s mobile apps). The executable tamper resistant key module also
includes:
    1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
    2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
    3. Apple’s RSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
    4. Asana’s private key used to code-sign the mobile app.

For DHE_DSS and DH_DSS, the executable tamper resistant key module includes encrypted predetermined data (i.e. all communication with Apple
subsequent to the TLS handshake, including at least the executable compiled code related to its mobile apps and information such as name,
category, screenshots and description related to Asana’s mobile apps). The executable tamper resistant key module also includes:
    1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
    2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
    3. Apple’s DSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
    4. Asana’s private key used to code-sign the mobile app.

For ECDH_ECDSA and ECDHE_ECDSA, the executable tamper resistant key module includes encrypted predetermined data (i.e. all communication
with Apple subsequent to the TLS handshake, including at least the executable compiled code related to its mobile apps and information such as
name, category, screenshots and description related to Asana’s mobile apps). The executable tamper resistant key module also includes:
    1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
    2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
    3. Apple’s ECDSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
    4. Asana’s private key used to code-sign the mobile app.
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                                           Asana builds an executable tamper resistant key module identified for a selected program resident on a remote system. Specifically, Asana builds a
                                           mobile app, which is an executable tamper resistant key module, as explained in more detail below. This mobile app is identified for a selected
                                           program resident on a remote system, namely the iOS operating system on a remote mobile device.

                                           The mobile app comprises an executable tamper resistant key module that is identified for either the iOS program and includes the claimed private
                                           key described above and the encrypted predetermined data encrypted with the claimed public key also described above in building the mobile app
                                           so that it can be made available for download from Apple servers onto devices compatible with iOS for use by customers of Asana. An asymmetric
                                           key pair is used not only to upload the binary code files for the mobile app, but an entire application package, including all of the metadata for the
                                           app, such as title, screenshots, and other resources or information such as application type, category, price, etc. which are included during the upload
                                           process so that the mobile app can be identified by potential users for download15.

                                           Asana’s mobile app is each an executable tamper resistant key module because it is designed to work with other software, namely the iOS operating
                                           system as well as other applications or programs installed on a user’s mobile device; because the mobile app is resistant to observation and
                                           modification, as explained below; and because in building Asana mobile apps on the Apple platform, Asana’s apps include at least the claimed
                                           generated private key and the encrypted predetermined data including by way of example, the pre-master secret encrypted with the claimed
                                           generated public key when the mobile app is securely uploaded onto the Apple servers as described above.

                                           The tamper resistant key module includes several keys “used for secure communications” per the Court’s previous construction including at least the
                                           following:
                                           For RSA and RSA _PSK:
                                                1. Apple’s RSA private key corresponding to Apple’s RSA public key used by Asana to encrypt the premaster secret.
                                                2. Asana’s private key used to code-sign the mobile app.
                                                3. Symmetric key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                4. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA:
                                               1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
                                               2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
                                               3. Apple’s RSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
                                               4. Asana’s private key used to code-sign the mobile app.
                                               5. Shared master secret key used for uploading the mobile app to Apple subsequent to the TLS handshake.


15
  See, e.g., https://developer.apple.com/library/ios/documentation/IDEs/Conceptual/AppDistributionGuide/SubmittingYourApp/SubmittingYourApp.html#//apple_ref/doc/uid/TP40012582-CH9-SW1, Last
accessed on Mar 19, 2020
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 27 of 97 PageID 153



                                                   6. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.

                                               For DHE_DSS and DH_DSS:
                                                   1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
                                                   2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
                                                   3. Apple’s DSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
                                                   4. Asana’s private key used to code-sign the mobile app.
                                                   5. Shared master secret key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                   6. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.


                                               For ECDH_ECDSA and ECDHE_ECDSA:
                                                   1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
                                                   2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
                                                   3. Apple’s ECDSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
                                                   4. Asana’s private key used to code-sign the mobile app.
                                                   5. Shared master secret key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                   6. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.


                                               Asana’s mobile apps are tamper resistant, resistant to observation and modification, as follows:

                                                   1. Resistant to Observation Because App Source Code Is Compiled Before Upload

                                               Asana mobile apps are resistant to observation, at least in part, since Asana compiles its mobile app source code before submitting the app to Apple
                                               – and uploads the binary output of the compilation process rather than the source code itself16.

                                               See, e.g., App Store Connect Help, “Submit your app for review” stating “You submit your app to App Review to start the review process for making
                                               your app available on the App Store. However, before you can submit an app to App Review, you must provide the required metadata and choose
                                               the build for the version.
                                               Before you submit an app to App Review, you choose which build (from all the builds you uploaded for a version) that you want to submit. You can



16
     See, e.g., https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020
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associate only one build with an App Store version. However, you can change the build as often as you want until you submit the version to App
Review.”

Source: https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020

    2. Resistant to Observation Because Upload To Apple Is Over SSL/TLS

Asana’s mobile apps are made further resistant to observation, at least in part, because the mobile app is securely sent by SSL/TLS to Apple as part of
the building process. App Store Connect portal (https://appstoreconnect.apple.com, Last accessed on Mar 19, 2020) establishes SSL/TLS
communications when uploading Asana’s apps, as evidenced by the “https” in its URL. Sending the mobile app code by SSL/TLS is necessary to keep
the code from being observed in transit from the code developer to Apple.

The secure upload process starts with a TLS handshake procedure which uses asymmetric key encryption and necessitates generation of at least one
asymmetric key pair. Specifically, Asana negotiates with Apple the cipher suite and the key exchange algorithm that will be used for the handshake.
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 29 of 97 PageID 155




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 31 of 97 PageID 157




Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

For each of the above key exchange algorithms, Apple and/or Asana encrypts all communication, including upload of the mobile app, using a master
secret, rendering the communication resistant to observation during transit from Asana to Apple.
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                                             For RSA and RSA _PSK, Asana encrypts a random premaster secret with Apple’s RSA public key and sends the encrypted premaster secret to Apple.
                                             Apple decrypts the premaster secret with its matched RSA private key. Asana and Apple both use the premaster secret to compute a master secret
                                             which is then used by both Asana and Apple to encrypt all subsequent communications between Asana and Apple.

                                             For the other key exchange algorithms, namely Diffie-Hellman based algorithms such as DHE_RSA, ECDHE_RSA, DH_RSA, DHE_DSS, DH_DSS,
                                             ECDH_RSA, ECDH_ECDSA and ECDHE_ECDSA, Asana sends its Diffie-Hellman public key17 to Apple while Apple sends its Diffie-Hellman public key to
                                             Asana. Asana then uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a premaster secret.
                                             Apple in turn uses Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-Hellman private key to compute the same premaster secret.
                                             Asana and Apple both use the premaster secret to compute a master secret which is then used by both Asana and Apple to encrypt all subsequent
                                             communications between Asana and Apple.

                                                  3. Resistant to Modification Because App Binary Is Code Signed

                                             The mobile app code is made resistant to modification, at least in part, because the app binary is code signed. Apple dictates that each developer
                                             must sign the mobile app submission with his/her asymmetric developer key that certifies that the app has not been modified by a third party
                                             impersonator18.

                                                     Xcode code signs your app during the build and archive process. If needed, Xcode requests a certificate and adds a signing certificate, the
                                                     certificate with its public-private key pair, to your keychain. The certificate with the public key is added to your developer account.

                                                     Source: https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020

                                                     A signing signing certificate includes the certificate with its public-private key pair issued by Apple, and is stored in your keychain. Because the
                                                     private key is stored locally, protect it as you would an account password. An intermediate certificate is also required to be in your keychain to
                                                     ensure that your certificate is issued by a certificate authority such as Apple.
                                                     Your signing certificate is added to your keychain and the corresponding certificate is added to your developer account.

                                                     Source: https://help.apple.com/xcode/mac/current/#/dev1c7c2c67d, Last accessed on Mar 19, 2020


17
   For Diffie-Hellman (DH) based algorithms such as DH_RSA, DHE_RSA, ECDH_RSA, ECDHE_RSA, DH_DSS, DHE_DSS, ECDH_ECDSA and ECDHE_ECDSA, Apple calculates a hash of the message containing their Diffie-
Hellman public key and encrypts the hash with their RSA/DSA/ECDSA private key (i.e. signing the message). Apple then sends that RSA/DSA/ECDSA public key to Asana in a digital certificate so that Asana can
authenticate the Apple server by decrypting the hash using Apple’s public key and matching the decryption result to a hash of the received message as calculated by Asana itself. If the two values match, Asana
knows that the message originated from Apple and not from a malicious third party.
18
   See, e.g., https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                       Page 33 of 97 PageID 159



       About Signing Identities and Certificates

       Code signing (or signing) an app allows the system to identify who signed the app and to verify that the app has not been modified since it was
       signed.

       Signing is a requirement for uploading your app to App Store Connect and distributing it through TestFlight or the App Store. The operating
       system verifies the signature of apps downloaded from the App Store to ensure that apps with invalid signatures don’t run. An app’s
       executable code is protected by its signature because the signature becomes invalid if any of the executable code in the app bundle changes. A
       valid signature lets users trust that the app was signed by an Apple source and hasn’t been modified since it was signed.

       Xcode uses your signing certificate to sign your app during the build process. The signing certificate consists of a public-private key pair and a
       certificate. The private key is used by cryptographic functions to generate the signature. The certificate is issued by Apple; it contains the public
       key and identifies you as the owner of the key pair. In order to sign apps, you must have both parts of your signing certificate, and an Apple
       certificate authority in your keychain.

       An app’s signature can be removed, and the app can be re-signed using another signing certificate. For example, Apple re-signs all apps sold on
       the App Store. Also, a fully-tested development build of your app can be re-signed for submission to the App Store. Thus the signature is best
       understood not as proof of the app’s origin but as a verifiable mark placed by the signer.

       Source: https://help.apple.com/xcode/mac/current/#/devfbe995ebf, Last accessed on Mar 19, 2020

Asana complies with Apple’s instructions on code signing as shown by Asana’s mobile app contents. Asana’s mobile apps contain files such as the file
_CodeSignature/CodeResources in Asana’s iOS apps which are generated during the code signing process as per instructions from Apple.
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Source: Contents of Asana: organize tasks & work, https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512, as an example of Asana
app, Last accessed on Mar 19, 2020


Asymmetrical key cryptography and hashing algorithms are used to create the unique digital signature for iOS mobile apps. The digital signature is
used to sign the resources in an application package, including the compiled code. The private key of an asymmetric key pair that is generated for
the digital code signing is used to code sign the app. This private key is included in the mobile app although the private key is not the claimed private
key of the claimed generated asymmetric key pair because it does not match the claimed public key used to encrypt predetermined data, based on
the court’s construction.
                                           Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                      Page 35 of 97 PageID 161



                                        Hashes are created for every resource in the application package with the help of a hash algorithm. The signature manifest also has its own hash to
                                        prevent unauthorized changes. The hashes are encrypted with a private key. After the encryption is complete, the digital signature for the app is
                                        created.

                                        By signing the app binary with a digital signature, Asana’s mobile apps are tamper resistant enabling Apple and the iOS mobile devices to verify that
                                        the application is being distributed by trusted source (i.e. Asana) and that the application has not been modified by a third party, which can be
                                        verified by the corresponding public key generated as part of the pair. Thus the app binary is made resistant to modification by digital signing.

                                        Accordingly Asana’s iOS mobile apps establish SSL/TLS communications with Asana’s servers, which involve a SSL/TLS handshake procedure involving
                                        asymmetric key encryption. SSL/TLS ensures secure communication and renders the mobile app data further resistant to observation.
2. The method of claim 1, wherein the   Asana’s mobile software application products and services including by way of example, but not limited to the following apps (“mobile applications”,
program is on a remote system and       “mobile apps” or “Accused Products”) that are specifically developed, used, sold, offered for sale, marketed, licensed and distributed by Asana to be
further comprising sending the          downloaded onto Apple iOS mobile or tablet devices.
executable tamper resistant key
module to the remote system.                       Asana: organize tasks & work (https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512), Last accessed on Mar 19, 2020

                                        Asana directly infringes and/or continues to knowingly induce Apple to infringe this claim by intentionally developing, making, marketing, advertising,
                                        providing, sending, distributing and licensing its mobile applications software, documentation, materials, training or support and aiding, abetting,
                                        encouraging, promoting or inviting use thereof.

                                        Upon information and belief, the method step of sending the executable tamper resistant key module to the remote system is performed by Apple
                                        and/or its agents – whose acts are attributable to Asana (i) because Asana works together with Apple in a joint enterprise in the building and
                                        distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s mobile apps under the direction and control of Asana, or acts as
                                        agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s mobile apps.

                                        Alternatively, to the extent any portion of this method step is performed by Asana, such acts are attributable to Apple, who conditions participation
                                        in and the receipt of a benefit, namely, the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory
                                        procedures and guidelines dictated by Apple in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the
                                        building, marketing and distribution of Asana’s mobile apps.

                                        Asana’s mobile apps are sent or downloaded from Apple servers and are executed on iOS remote devices such as mobile phones and tablets. When a
                                        user accesses Apple App Store – and requests to download Asana app, Apple sends the executable tamper resistant key module to the remote
                                        device(s).
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 36 of 97 PageID 162



                                               Further, the step of “sending” Asana mobile apps to the remote system occurs via TLS/SSL communications. Thus, the sending of Asana mobile apps,
                                               to the extent required by the claims, also includes a private key and predetermined data encrypted by a public key, as explained in detail above.

                                               In particular, Asana mobile apps sent to users’ remote devices are tamper resistant, resistant to observation and modification as follows:

                                                   1. Resistant to Observation Because App is Downloaded in Compiled Form

                                               Asana mobile apps are resistant to observation, at least in part, since Asana compiles its mobile app source code before submitting the app to Apple
                                               – and uploads the binary output of the compilation process rather than the source code itself – and hence a user can only download the compiled
                                               source code from Apple rather than the source code itself19.

                                               See, e.g., App Store Connect Help, “Submit your app for review” stating “You submit your app to App Review to start the review process for making
                                               your app available on the App Store. However, before you can submit an app to App Review, you must provide the required metadata and choose
                                               the build for the version.
                                               Before you submit an app to App Review, you choose which build (from all the builds you uploaded for a version) that you want to submit. You can
                                               associate only one build with an App Store version. However, you can change the build as often as you want until you submit the version to App
                                               Review.”

                                               Source: https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020


                                                   2. Resistant to Observation Because Download from Apple Is Over SSL/TLS

                                               Asana’s mobile apps are made further resistant to observation, at least in part, because the mobile app is securely sent or downloaded by SSL/TLS
                                               from Apple servers. Asana app users establish SSL/TLS communications with Asana app store listings (for example, using the URL
                                               https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512 for Asana: organize tasks & work, Last accessed on Mar 19, 2020) when
                                               downloading Asana’s iOS apps, as evidenced by the “https” in the URL. Sending the mobile app code by SSL/TLS is necessary to keep the code from
                                               being observed in transit from Apple to the user’s remote system.

                                               The secure download process starts with a TLS handshake procedure which uses asymmetric key encryption and necessitates generation of at least
                                               one asymmetric key pair. Specifically, user’s remote device negotiates with Apple the cipher suite and the key exchange algorithm that will be used
                                               for the handshake.

19
     See, e.g., https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 37 of 97 PageID 163




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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                                           Each of these algorithms necessitates generating one or more asymmetric key pairs – that are in turn used to compute a shared master secret for
                                           encrypting the mobile app download.

                                           For RSA and RSA _PSK, Apple server generates an RSA public-private key pair.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Apple server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair20. The user’s remote device also generates a second Diffie-Hellman public-private key pair.

                                           For DHE_DSS and DH_DSS, Apple server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Apple server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair.




20
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 39 of 97 PageID 165




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 40 of 97 PageID 166




Source: https://tools.ietf.org/html/rfc5246 at 50-51, Last accessed on Mar 19, 2020
Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20   Page 41 of 97 PageID 167
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 42 of 97 PageID 168




Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

The generated asymmetric key pairs are then used to compute a shared master secret which is then used to encrypt the mobile app download so
that it is resistant to observation during transit.
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                                           For RSA and RSA _PSK, the RSA public-private key pair is used to encrypt a random premaster secret which is in turn used by Apple server and the
                                           user’s remote device to compute a master secret. Apple uses the master secret to encrypt the mobile app and the user’s remote device uses to
                                           decrypt the downloaded mobile app according to the TLS protocol.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Apple server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair21. The user’s remote device also generates a second Diffie-Hellman public-private key pair. Apple server uses its Diffie-Hellman private key
                                           and the user’s Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses
                                           the user’s Diffie-Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master
                                           secret that Apple uses to encrypt the mobile app and the user’s remote device uses to decrypt the downloaded mobile app according to the TLS
                                           protocol.

                                           For DHE_DSS and DH_DSS, Apple server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair. Apple server uses its Diffie-Hellman private key and the user’s Diffie-Hellman
                                           public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-Hellman
                                           private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret that Apple uses to
                                           encrypt the mobile app and the user’s remote device uses to decrypt the downloaded mobile app according to the TLS protocol.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Apple server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair. Apple server uses its Diffie-Hellman private key and the user’s
                                           Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-
                                           Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret that Apple
                                           uses to encrypt the mobile app and the user’s remote device uses to decrypt the downloaded mobile app according to the TLS protocol.


                                               3. Resistant to Modification Because Mobile App is Code Signed



21
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                       Page 44 of 97 PageID 170



                                              The downloaded mobile app code is resistant to modification, at least in part, because the downloaded app binary is code signed. Code-signing
                                              allows users’ remote systems to verify that the downloaded app binary is authentic and has not been maliciously modified by a third party. Apple
                                              dictates that each developer must sign the mobile app submission with his/her asymmetric developer key that certifies that the app has not been
                                              modified by a third party impersonator22.


                                                      Xcode code signs your app during the build and archive process. If needed, Xcode requests a certificate and adds a signing certificate, the
                                                      certificate with its public-private key pair, to your keychain. The certificate with the public key is added to your developer account.

                                                      Source: https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020

                                                      A signing signing certificate includes the certificate with its public-private key pair issued by Apple, and is stored in your keychain. Because the
                                                      private key is stored locally, protect it as you would an account password. An intermediate certificate is also required to be in your keychain to
                                                      ensure that your certificate is issued by a certificate authority such as Apple.
                                                      Your signing certificate is added to your keychain and the corresponding certificate is added to your developer account.

                                                      Source: https://help.apple.com/xcode/mac/current/#/dev1c7c2c67d, Last accessed on Mar 19, 2020

                                                      About Signing Identities and Certificates

                                                      Code signing (or signing) an app allows the system to identify who signed the app and to verify that the app has not been modified since it was
                                                      signed.

                                                      Signing is a requirement for uploading your app to App Store Connect and distributing it through TestFlight or the App Store. The operating
                                                      system verifies the signature of apps downloaded from the App Store to ensure that apps with invalid signatures don’t run. An app’s
                                                      executable code is protected by its signature because the signature becomes invalid if any of the executable code in the app bundle changes. A
                                                      valid signature lets users trust that the app was signed by an Apple source and hasn’t been modified since it was signed.

                                                      Xcode uses your signing certificate to sign your app during the build process. The signing certificate consists of a public-private key pair and a
                                                      certificate. The private key is used by cryptographic functions to generate the signature. The certificate is issued by Apple; it contains the public
                                                      key and identifies you as the owner of the key pair. In order to sign apps, you must have both parts of your signing certificate, and an Apple
                                                      certificate authority in your keychain.


22
     See, e.g., https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020
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       An app’s signature can be removed, and the app can be re-signed using another signing certificate. For example, Apple re-signs all apps sold on
       the App Store. Also, a fully-tested development build of your app can be re-signed for submission to the App Store. Thus the signature is best
       understood not as proof of the app’s origin but as a verifiable mark placed by the signer.

       Source: https://help.apple.com/xcode/mac/current/#/devfbe995ebf, Last accessed on Mar 19, 2020

Asana complies with Apple’s instructions on code signing as shown by Asana’s mobile app contents. Asana’s mobile apps contain files such as the file
_CodeSignature/CodeResources in Asana’s iOS apps which are generated during the code signing process as per instructions from Apple.
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                       Page 46 of 97 PageID 172



                                               Source: Contents of Asana: organize tasks & work, https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512, as an example of Asana
                                               app, Last accessed on Mar 19, 2020

                                               By signing the app binary with a digital signature, Asana’s mobile apps are tamper resistant enabling Apple and the iOS mobile devices to verify that
                                               the application is being distributed by trusted source (i.e. Asana) and that the application has not been modified by a third party, which can be
                                               verified by the corresponding public key generated as part of the pair. Thus the app binary is made resistant to modification by digital signing.

                                               Accordingly Asana’s iOS mobile apps establish SSL/TLS communications with Asana’s servers, which involve a SSL/TLS handshake procedure involving
                                               asymmetric key encryption. SSL/TLS ensures secure communication and renders the mobile app data further resistant to observation.


                                                   4. Resistant to Observation Because Mobile App is Stored on Remote System in Encrypted Form


                                               The mobile app is made further resistant to observation because when downloaded and installed on a user’s iOS mobile device, it is stored in an
                                               encrypted form. iOS implements disk encryption for encrypting the operating system software, apps and all related data on a mobile device – which
                                               further renders Asana app resistant to observation23.

                                                   5. Resistant to Observation Because Mobile App Securely Communicates with Asana Over SSL/TLS

                                               Asana’s mobile apps are made further resistant to observation, at least in part, because the mobile app communicates with Asana using SSL/TLS
                                               during operation. Asana app users establish SSL/TLS communications with Asana servers when the app is executed. Such secure communication is
                                               necessary to keep source code as well as user identity and activity from being observed in transit from the remote system to Asana servers and vice
                                               versa.

                                               The secure communications process starts with a TLS handshake procedure which uses asymmetric key encryption and necessitates generation of at
                                               least one asymmetric key pair. Specifically, user’s remote device negotiates with Asana servers the cipher suite and the key exchange algorithm that
                                               will be used for the handshake.




23
     See, e.g., https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Pages 10-18, Last accessed on May 22, 2019
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 47 of 97 PageID 173




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020

Each of these algorithms necessitates generating one or more asymmetric key pairs – that are in turn used to compute a shared master secret for
encrypting communication between Asana and user’s remote device.

For RSA and RSA _PSK, Asana server generates an RSA public-private key pair.
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                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Asana server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair24. The user’s remote device also generates a second Diffie-Hellman public-private key pair.
                                           For DHE_DSS and DH_DSS, Asana server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair.
                                           For ECDH_ECDSA and ECDHE_ECDSA, Asana server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair.




24
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html, , Last accessed on Mar 19, 2020

http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 49 of 97 PageID 175




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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Source: https://tools.ietf.org/html/rfc5246 at 50-51, Last accessed on Mar 19, 2020
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   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 52 of 97 PageID 178




Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

The generated asymmetric key pairs are then used to compute a shared master secret which is then used to encrypt subsequent communications
between Asana and the user’s remote device so that they are resistant to observation during transit.
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                                           For RSA and RSA _PSK, the RSA public-private key pair is used to encrypt a random premaster secret which is in turn used by Asana server and the
                                           user’s remote device to compute a master secret. Asana and the user’s remote device use the master secret for encrypting and decrypting
                                           communication messages.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Asana server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair25. The user’s remote device also generates a second Diffie-Hellman public-private key pair. Asana server uses its Diffie-Hellman private key
                                           and the user’s Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses
                                           the user’s Diffie-Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master
                                           secret for encrypting and decrypting communication messages.

                                           For DHE_DSS and DH_DSS, Asana server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair. Asana server uses its Diffie-Hellman private key and the user’s Diffie-Hellman
                                           public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-Hellman
                                           private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret for encrypting and
                                           decrypting communication messages.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Asana server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair. Asana server uses its Diffie-Hellman private key and the user’s
                                           Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-
                                           Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret for encrypting
                                           and decrypting communication messages.

 9. The method of claim 1, wherein         Asana’s mobile software application products and services including by way of example, but not limited to the following apps (“mobile applications”,
 building the executable tamper            “mobile apps” or “Accused Products”) that are specifically developed, used, sold, offered for sale, marketed, licensed and distributed by Asana to be
 resistant code module comprises           downloaded onto Apple iOS mobile or tablet devices.
 generating an integrity verification
 kernel.

25
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                       Page 54 of 97 PageID 180



                                                          Asana: organize tasks & work (https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512), Last accessed on Mar 19, 2020

                                              Asana directly infringes and/or continues to knowingly induce Apple to infringe this claim by intentionally developing, making, marketing, advertising,
                                              providing, sending, distributing and licensing its mobile applications software, documentation, materials, training or support and aiding, abetting,
                                              encouraging, promoting or inviting use thereof.

                                              Upon information and belief, the method step of generating an integrity verification kernel is performed by Apple and/or its agents – whose acts are
                                              attributable to Asana (i) because Asana works together with Apple in a joint enterprise in the building and distribution of its mobile apps, or (ii)
                                              because Apple distributes and markets Asana’s mobile apps under the direction and control of Asana, or acts as agent, or on behalf of Asana, in the
                                              building, marketing and distribution of Asana’s mobile apps.

                                              Alternatively, to the extent any portion of this method step is performed by Asana, such acts are attributable to Apple, who conditions participation
                                              in and the receipt of a benefit, namely, the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory
                                              procedures and guidelines dictated by Apple in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the
                                              building, marketing and distribution of Asana’s mobile apps.

                                              Alternatively, any steps or acts performed by Asana, are attributable to Apple, who conditions participation in and the receipt of a benefit, namely,
                                              the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory procedures and guidelines dictated by Apple
                                              in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the building, marketing and distribution of Asana’s
                                              mobile apps.


                                              The Court construed “integrity verification kernel” to mean “software that verifies that a program image corresponds to a supplied digital signature
                                              and that is resistant to observation and modification.”

                                              When a mobile app is deployed on device, a hash algorithm is used to compute hashes for the resources. The public key is used to decrypt the hashes
                                              in the hash manifest. Then, the hashes from the hash manifest are compared with the previous hash computations. If the hashes do not match, the
                                              digital signature is invalid and the application does not launch. Thus, the private key described above is used to digitally sign the program image for
                                              the app, and this digital signature is supplied so that the mobile app can be verified prior to launch of the mobile application26.

                                              The code for iOS used to validate the digitally signed mobile app code is itself resistant to observation and modification.



26
     See, e.g., https://developer.apple.com/library/archive/documentation/Security/Conceptual/CodeSigningGuide/AboutCS/AboutCS.html, Last accessed on Mar 19, 2020
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                                               Further, iOS implements disk encryption for encrypting the operating system software, applications and all related data on a mobile device – which
                                               renders the code for validating the digitally signed mobile app binary further resistant to observation27.

                                               Further iOS implements a secure boot functionality that verifies the operating system, including code for validating digitally signed mobile apps,
                                               when the mobile device is powered on. If this verification fails, i.e. if the operating system has been maliciously modified, the operating system does
                                               not launch28. Thus, the software that verifies that a program image corresponds to a supplied digital signature is both resistant to observation and
                                               modification.




                                               Source: iOS Security Guide, https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019




27
     See, e.g., https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Pages 10-18, Last accessed on May 22, 2019
28
     See, e.g., https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Pages 5-6, Last accessed on May 22, 2019
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                      Page 56 of 97 PageID 182




Source: iOS Security Guide, https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019

Further iOS implements a secure boot functionality that verifies the operating system, including code for validating digitally signed mobile apps,
when the mobile device is powered on. If this verification fails, i.e. if the operating system has been maliciously modified, the operating system does
not launch.
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                                          Source: https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019

10. The method of claim 9, wherein        Asana’s mobile software application products and services including by way of example, but not limited to the following apps (“mobile applications”,
generating an integrity verification      “mobile apps” or “Accused Products”) that are specifically developed, used, sold, offered for sale, marketed, licensed and distributed by Asana to be
kernel comprises accessing an             downloaded onto Apple iOS mobile or tablet devices.
asymmetric public key of a
predetermined asymmetric key pair                    Asana: organize tasks & work (https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512), Last accessed on Mar 19, 2020
associated with a manifest of the
program signed by an asymmetric           Asana directly infringes and/or continues to knowingly induce Apple to infringe this claim by intentionally developing, making, marketing, advertising,
private key of the predetermined          providing, sending, distributing and licensing its mobile applications software, documentation, materials, training or support and aiding, abetting,
asymmetric key pair, producing            encouraging, promoting or inviting use thereof.
integrity verification kernel code with
the asymmetric public key for             Upon information and belief, the method step of accessing an asymmetric public key of a predetermined asymmetric key pair associated with a
verifying the signed manifest of the      manifest of the program signed by an asymmetric private key of the predetermined asymmetric key pair, producing integrity verification kernel code
program and combining manifest            with the asymmetric public key for verifying the signed manifest of the program and combining manifest parser generator code and the integrity
parser generator code and the             verification kernel code to produce the integrity verification kernel is performed by Apple and/or its agents – whose acts are attributable to Asana (i)
integrity verification kernel code to     because Asana works together with Apple in a joint enterprise in the building and distribution of its mobile apps, or (ii) because Apple distributes and
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                       Page 58 of 97 PageID 184



 produce the integrity verification            markets Asana’s mobile apps under the direction and control of Asana, or acts as agent, or on behalf of Asana, in the building, marketing and
 kernel.                                       distribution of Asana’s mobile apps.

                                               Alternatively, to the extent any portion of this method step is performed by Asana, such acts are attributable to Apple, who conditions participation
                                               in and the receipt of a benefit, namely, the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory
                                               procedures and guidelines dictated by Apple in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the
                                               building, marketing and distribution of Asana’s mobile apps.


                                               The Court previously construed29 “integrity verification kernel” to mean “software that verifies that a program image corresponds to a supplied
                                               digital signature and that is resistant to observation and modification” and “manifest” to mean ““static source code that includes the integrity
                                               verification kernel’s entry code, generator code, accumulator code, and other code for tamper detection.”

                                               iOS implements a secure boot functionality that verifies the operating system, including code for validating digitally signed mobile apps, when the
                                               mobile device is powered on. If this verification fails, i.e. if the operating system has been maliciously modified, the operating system, along with the
                                               mobile apps installed on the device, does not launch. Thus every time the device is restarted an integrity verification kernel is generated by accessing
                                               an asymmetric public key of a predetermined asymmetric key pair associated with a manifest of the operating system signed with the corresponding
                                               asymmetric private key by Apple. This integrity verification kernel is implemented in code which is produced by combining code that parses a
                                               manifest associated with the operating system and code that verifies that the operating system on the device matches with the manifest and has not
                                               been maliciously modified.

                                               Further, the software that performs the above verification is stored in a compiled and encrypted form and is hence resistant to observation.
                                               Additionally, the software is digitally signed by Apple with their asymmetric private key and is thus resistant to modification.




29
     See Memorandum Opinion and Order, Document 104 signed by Judge Rodney Gilstrap on 7/21/2016 in re Plano Encryption Technologies, LLC v. American Bank of Texas (2:15-cv-01273).
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                Page 59 of 97 PageID 185




Source: https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019
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Source: iOS Security Guide, Page 10, https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019
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Source: iOS Security Guide, Page 11, https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019
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11. The method of claim 10, wherein      Asana’s mobile software application products and services including by way of example, but not limited to the following apps (“mobile applications”,
the program comprises a trusted          “mobile apps” or “Accused Products”) that are specifically developed, used, sold, offered for sale, marketed, licensed and distributed by Asana to be
player and the method further            downloaded onto Apple iOS mobile or tablet devices.
comprises building a manifest for the
trusted player, signing the manifest                Asana: organize tasks & work (https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512), Last accessed on Mar 19, 2020
with the asymmetric private key of the
predetermined asymmetric key pair,       Asana directly infringes and/or continues to knowingly induce Apple to infringe this claim by intentionally developing, making, marketing, advertising,
and storing the asymmetric public key    providing, sending, distributing and licensing its mobile applications software, documentation, materials, training or support and aiding, abetting,
of the predetermined asymmetric key      encouraging, promoting or inviting use thereof.
pair.
                                         Upon information and belief, the method step of building a manifest for the trusted player, signing the manifest with the asymmetric private key of
                                         the predetermined asymmetric key pair, and storing the asymmetric public key of the predetermined asymmetric key pair is performed by Apple
                                         and/or its agents – whose acts are attributable to Asana (i) because Asana works together with Apple in a joint enterprise in the building and
                                         distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s mobile apps under the direction and control of Asana, or acts as
                                         agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s mobile apps.

                                         Alternatively, to the extent any portion of this method step is performed by Asana, such acts are attributable to Apple, who conditions participation
                                         in and the receipt of a benefit, namely, the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory
                                         procedures and guidelines dictated by Apple in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the
                                         building, marketing and distribution of Asana’s mobile apps.


                                         As explained in claim 10, iOS implements a secure boot functionality that verifies the operating system, including code for validating digitally signed
                                         mobile apps, when the mobile device is powered on. If this verification fails, i.e. if the operating system has been maliciously modified, the operating
                                         system, along with the mobile apps installed on the device, does not launch. When Apple installs the bootloader code and the operating system on a
                                         device before the device is sold to a user, Apple builds a manifest for the operating system (Apple being the trusted player) and signs the manifest
                                         with their asymmetric private key and storing the corresponding asymmetric public key in the bootloader so that the manifest of the operating
                                         system can be verified during device restart.
                                           Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 63 of 97 PageID 189




                                        Source: https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Last accessed on May 22, 2019

34. A method of securely distributing   Asana’s mobile software application products and services including by way of example, but not limited to the following apps (“mobile applications”,
data encrypted by a public key of an    “mobile apps” or “Accused Products”) that are specifically developed, used, sold, offered for sale, marketed, licensed and distributed by Asana to be
asymmetric key pair comprising:         downloaded onto Apple iOS mobile or tablet devices.

                                                   Asana: organize tasks & work (https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512), Last accessed on Mar 19, 2020

                                        Asana directly infringes and/or continues to knowingly induce Apple to infringe this claim by intentionally developing, making, marketing, advertising,
                                        providing, sending, distributing and licensing its mobile applications software, documentation, materials, training or support and aiding, abetting,
                                        encouraging, promoting or inviting use thereof.

                                        To the extent any steps identified herein are performed by Apple, such acts are attributable to Asana (i) because Asana works together with Apple in
                                        a joint enterprise in the building and distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s mobile apps under the
                                        direction and control of Asana, or acts as agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s mobile apps.
                                                   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                            Page 64 of 97 PageID 190



                                               Alternatively, any steps or acts performed by Asana, are attributable to Apple, who conditions participation in and the receipt of a benefit, namely,
                                               the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory procedures and guidelines dictated by Apple
                                               in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the building, marketing and distribution of Asana’s
                                               mobile apps.


                                               To the extent the preamble is limiting, Asana distributes data encrypted by a public key of an asymmetric key pair. In order to send the mobile app
                                               code securely to the Apple servers, data is encrypted with the public key of an asymmetric key pair, as part of the SSL/TLS process. App Store Connect
                                               portal (https://appstoreconnect.apple.com, Last accessed on Mar 19, 2020) establishes SSL/TLS communications when uploading Asana’s apps, as
                                               evidenced by the “https” in the URL. That process necessarily uses the public key of the generated asymmetric key pair to encrypt data that is used to
                                               create a symmetric key for secure communications.

 building an executable tamper                 Relevant to this claim element is the Court’s previous construction30 of “executable tamper resistant key module” / “executable tamper resistant
 resistant key module identified for a         code module” / “tamper resistant key module” to mean “software that is designed to work with other software, that is resistant to observation and
 selected program resident on a                modification, and that includes a key for secure communication.” Also relevant to this claim element is the Court’s previous rejection of limiting
 remote system, the executable                 “including” to compiling31.
 tamper resistant key module including
 a private key of the asymmetric key           The method step of “building an executable tamper resistant key module identified for a selected program resident on a remote system, the
 pair and the encrypted data; and              executable tamper resistant key module including a private key of the asymmetric key pair and the encrypted data” is performed by Asana and/or its
                                               agents.

                                               To the extent any portion of the method step is performed by Apple and/or its agents, such acts are attributable to Asana (i) because Asana works
                                               together with Apple in a joint enterprise in the building and distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s
                                               mobile apps under the direction and control of Asana, or acts as agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s
                                               mobile apps.

                                               Building of an “executable tamper resistant code module” (that is, the mobile app) requires the inclusion of at least the following different
                                               asymmetric key pairs:


30
  See Memorandum Opinion and Order, Document 104 signed by Judge Rodney Gilstrap on 7/21/2016 in re Plano Encryption Technologies, LLC v. American Bank of Texas (2:15-cv-01273).
31
  Although the exact language construed from the previous claims is not at issue in claim 34, also relevant is the Court’s construction of “an asymmetric key pair having a public key and a private key” in claims 1, 9
and 10 to mean “one or more asymmetric key pairs, one of the asymmetric key pairs having the claimed public key and claimed private key, the asymmetric keys of an asymmetric key pair being complementary by
performing complementary functions, such as encrypting and decrypting data or creating and verifying signatures.” While not necessarily adopting the Court’s construction, Honeyman has assumed that the public
key and private key in claim 34 must perform complementary functions.
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(1)    An asymmetric key pair must be included in order to send the mobile app from Asana to Apple securely by SSL/TLS; and
(2)    An asymmetric key pair must be included by Asana in order to digitally sign the mobile app with a private asymmetric key and to verify the
mobile app has not been changed with the public key for iOS compatible mobile apps.

The asymmetric key pair that is included to digitally sign the mobile app is different from and in addition to the claimed asymmetric key pair used to
securely upload the mobile app to the Apple servers for distribution on the Apple App Store.

Thus, at least one asymmetric key pair is included having the claimed public key and claimed private key in building the tamper resistant app so that
the mobile app code can be sent uploaded to the Apple servers using SSL/TLS protocol. This asymmetric key pair(s) (as with the asymmetric key pair
used to digitally sign the app) is complementary as described below by performing complementary functions, such as encrypting and decrypting data
and/or creating and verifying signatures. As described in greater detail below, the claimed public and private key are generated and used to securely
upload the mobile app onto the Apple servers by SSL/TLS when building the app, where the app includes the generated private key of the claimed
asymmetric key pair(s) and the encrypted data.

Asana uploads their mobile apps to Apple using a TLS connection – which begins with a TLS handshake. A TLS handshake is a mandatory procedure
that allows Asana and Apple to exchange cryptographic parameters, including a cipher suite and arrive at a shared master secret for encrypting
communication including upload of Asana’s mobile apps to Apple servers.

A TLS handshake begins with Asana sending a list of cipher suites supported by Asana to Apple. These cipher suites specify at least one or more of the
following key exchange algorithms:
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 66 of 97 PageID 192




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20   Page 67 of 97 PageID 193
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 68 of 97 PageID 194




Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

For each of the key exchange algorithms, Asana and/or Apple build an executable tamper resistant key module that includes the generated private
key and the encrypted data.
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For RSA and RSA _PSK, the executable tamper resistant key module includes encrypted data (i.e. the encrypted premaster secret) as it would be
impossible for Asana to send its mobile app to Apple using SSL/TLS without encrypting a premaster secret and sending it to Apple. The executable
tamper resistant key module also includes:
    1. Apple’s RSA private key corresponding to Apple’s RSA public key used by Asana to encrypt the premaster secret.
    2. Asana’s private key used to code-sign the mobile app.

For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, the executable tamper resistant key module includes encrypted data (i.e. all communication
with Apple subsequent to the TLS handshake, including at least the executable compiled code related to its mobile apps and information such as
name, category, screenshots and description related to Asana’s mobile apps). The executable tamper resistant key module also includes:
    1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
    2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
    3. Apple’s RSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
    4. Asana’s private key used to code-sign the mobile app.

For DHE_DSS and DH_DSS, the executable tamper resistant key module includes encrypted data (i.e. all communication with Apple subsequent to
the TLS handshake, including at least the executable compiled code related to its mobile apps and information such as name, category, screenshots
and description related to Asana’s mobile apps). The executable tamper resistant key module also includes:
    1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
    2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
    3. Apple’s DSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
    4. Asana’s private key used to code-sign the mobile app.

For ECDH_ECDSA and ECDHE_ECDSA, the executable tamper resistant key module includes encrypted data (i.e. all communication with Apple
subsequent to the TLS handshake, including at least the executable compiled code related to its mobile apps and information such as name,
category, screenshots and description related to Asana’s mobile apps). The executable tamper resistant key module also includes:
    1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
    2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
    3. Apple’s ECDSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
    4. Asana’s private key used to code-sign the mobile app.

Asana builds an executable tamper resistant key module identified for a selected program resident on a remote system. Specifically, Asana builds a
mobile app, which is an executable tamper resistant key module, as explained in more detail below. This mobile app is identified for a selected
program resident on a remote system, namely the iOS operating system on a remote mobile device.
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                                               The mobile app comprises an executable tamper resistant key module that is identified for either the iOS program and includes the claimed private
                                               key described above and the encrypted data encrypted with the claimed public key also described above in building the mobile app so that it can be
                                               made available for download from Apple servers onto devices compatible with iOS for use by customers of Asana. An asymmetric key pair is used not
                                               only to upload the binary code files for the mobile app, but an entire application package, including all of the metadata for the app, such as title,
                                               screenshots, and other resources or information such as application type, category, price, etc. which are included during the upload process so that
                                               the mobile app can be identified by potential users for download32.

                                               Asana’s mobile app is each an executable tamper resistant key module because it is designed to work with other software, namely the iOS operating
                                               system as well as other applications or programs installed on a user’s mobile device; because the mobile app is resistant to observation and
                                               modification, as explained below; and because in building Asana mobile apps on the Apple platform, Asana’s apps include at least the claimed
                                               generated private key and the encrypted data including by way of example, the pre-master secret encrypted with the claimed generated public key
                                               when the mobile app is securely uploaded onto the Apple servers as described above.

                                               The tamper resistant key module includes several keys “used for secure communications” per the Court’s previous construction including at least the
                                               following:
                                               For RSA and RSA _PSK:
                                                    1. Apple’s RSA private key corresponding to Apple’s RSA public key used by Asana to encrypt the premaster secret.
                                                    2. Asana’s private key used to code-sign the mobile app.
                                                    3. Symmetric key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                    4. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.

                                               For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA:
                                                   1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
                                                   2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
                                                   3. Apple’s RSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
                                                   4. Asana’s private key used to code-sign the mobile app.
                                                   5. Shared master secret key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                   6. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.

                                               For DHE_DSS and DH_DSS:
                                                   1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
                                                   2. Asana’s Diffie-Hellman private key used to compute the shared master secret.


32
     See, e.g., https://help.apple.com/xcode/mac/current/#/dev067853c94, Last accessed on Mar 19, 2020
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 71 of 97 PageID 197



                                                   3.   Apple’s DSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
                                                   4.   Asana’s private key used to code-sign the mobile app.
                                                   5.   Shared master secret key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                   6.   Asymmetric keys and symmetric keys used for TLS communications during operation of the app.


                                               For ECDH_ECDSA and ECDHE_ECDSA:
                                                   1. Apple’s Diffie-Hellman private key corresponding to Apple’s Diffie-Hellman public key used by Asana to compute the shared master secret.
                                                   2. Asana’s Diffie-Hellman private key used to compute the shared master secret.
                                                   3. Apple’s ECDSA private key used to sign the message containing Apple’s Diffie-Hellman public key.
                                                   4. Asana’s private key used to code-sign the mobile app.
                                                   5. Shared master secret key used for uploading the mobile app to Apple subsequent to the TLS handshake.
                                                   6. Asymmetric keys and symmetric keys used for TLS communications during operation of the app.


                                               Asana’s mobile apps are tamper resistant, resistant to observation and modification, as follows:

                                                   1. Resistant to Observation Because App Source Code Is Compiled Before Upload

                                               Asana mobile apps are resistant to observation, at least in part, since Asana compiles its mobile app source code before submitting the app to Apple
                                               – and uploads the binary output of the compilation process rather than the source code itself33.

                                               See, e.g., App Store Connect Help, “Submit your app for review” stating “You submit your app to App Review to start the review process for making
                                               your app available on the App Store. However, before you can submit an app to App Review, you must provide the required metadata and choose
                                               the build for the version.
                                               Before you submit an app to App Review, you choose which build (from all the builds you uploaded for a version) that you want to submit. You can
                                               associate only one build with an App Store version. However, you can change the build as often as you want until you submit the version to App
                                               Review.”

                                               Source: https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020




33
     See, e.g., https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 72 of 97 PageID 198



    2. Resistant to Observation Because Upload To Apple Is Over SSL/TLS

Asana’s mobile apps are made further resistant to observation, at least in part, because the mobile app is securely sent by SSL/TLS to Apple as part of
the building process. App Store Connect portal (https://appstoreconnect.apple.com, Last accessed on Mar 19, 2020) establishes SSL/TLS
communications when uploading Asana’s apps, as evidenced by the “https” in its URL. Sending the mobile app code by SSL/TLS is necessary to keep
the code from being observed in transit from the code developer to Apple.

The secure upload process starts with a TLS handshake procedure which uses asymmetric key encryption and necessitates generation of at least one
asymmetric key pair. Specifically, Asana negotiates with Apple the cipher suite and the key exchange algorithm that will be used for the handshake.
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 73 of 97 PageID 199




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20   Page 74 of 97 PageID 200
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Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

For each of the above key exchange algorithms, Apple and/or Asana encrypts all communication, including upload of the mobile app, using a master
secret, rendering the communication resistant to observation during transit from Asana to Apple.
                                                 Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                          Page 76 of 97 PageID 202



                                             For RSA and RSA _PSK, Asana encrypts a random premaster secret with Apple’s RSA public key and sends the encrypted premaster secret to Apple.
                                             Apple decrypts the premaster secret with its matched RSA private key. Asana and Apple both use the premaster secret to compute a master secret
                                             which is then used by both Asana and Apple to encrypt all subsequent communications between Asana and Apple.

                                             For the other key exchange algorithms, namely Diffie-Hellman based algorithms such as DHE_RSA, ECDHE_RSA, DH_RSA, DHE_DSS, DH_DSS,
                                             ECDH_RSA, ECDH_ECDSA and ECDHE_ECDSA, Asana sends its Diffie-Hellman public key34 to Apple while Apple sends its Diffie-Hellman public key to
                                             Asana. Asana then uses Apple’s Diffie-Hellman public key combined with Asana’s own Diffie-Hellman private key to compute a premaster secret.
                                             Apple in turn uses Asana’s Diffie-Hellman public key combined with Apple’s own Diffie-Hellman private key to compute the same premaster secret.
                                             Asana and Apple both use the premaster secret to compute a master secret which is then used by both Asana and Apple to encrypt all subsequent
                                             communications between Asana and Apple.

                                                  3. Resistant to Modification Because App Binary Is Code Signed

                                             The mobile app code is made resistant to modification, at least in part, because the app binary is code signed. Apple dictates that each developer
                                             must sign the mobile app submission with his/her asymmetric developer key that certifies that the app has not been modified by a third party
                                             impersonator35.

                                                     Xcode code signs your app during the build and archive process. If needed, Xcode requests a certificate and adds a signing certificate, the
                                                     certificate with its public-private key pair, to your keychain. The certificate with the public key is added to your developer account.

                                                     Source: https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020

                                                     A signing signing certificate includes the certificate with its public-private key pair issued by Apple, and is stored in your keychain. Because the
                                                     private key is stored locally, protect it as you would an account password. An intermediate certificate is also required to be in your keychain to
                                                     ensure that your certificate is issued by a certificate authority such as Apple.
                                                     Your signing certificate is added to your keychain and the corresponding certificate is added to your developer account.

                                                     Source: https://help.apple.com/xcode/mac/current/#/dev1c7c2c67d, Last accessed on Mar 19, 2020


34
   For Diffie-Hellman (DH) based algorithms such as DH_RSA, DHE_RSA, ECDH_RSA, ECDHE_RSA, DH_DSS, DHE_DSS, ECDH_ECDSA and ECDHE_ECDSA, Apple calculates a hash of the message containing their Diffie-
Hellman public key and encrypts the hash with their RSA/DSA/ECDSA private key (i.e. signing the message). Apple then sends that RSA/DSA/ECDSA public key to Asana in a digital certificate so that Asana can
authenticate the Apple server by decrypting the hash using Apple’s public key and matching the decryption result to a hash of the received message as calculated by Asana itself. If the two values match, Asana
knows that the message originated from Apple and not from a malicious third party.
35
   See, e.g., https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020
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       About Signing Identities and Certificates

       Code signing (or signing) an app allows the system to identify who signed the app and to verify that the app has not been modified since it was
       signed.

       Signing is a requirement for uploading your app to App Store Connect and distributing it through TestFlight or the App Store. The operating
       system verifies the signature of apps downloaded from the App Store to ensure that apps with invalid signatures don’t run. An app’s
       executable code is protected by its signature because the signature becomes invalid if any of the executable code in the app bundle changes. A
       valid signature lets users trust that the app was signed by an Apple source and hasn’t been modified since it was signed.

       Xcode uses your signing certificate to sign your app during the build process. The signing certificate consists of a public-private key pair and a
       certificate. The private key is used by cryptographic functions to generate the signature. The certificate is issued by Apple; it contains the public
       key and identifies you as the owner of the key pair. In order to sign apps, you must have both parts of your signing certificate, and an Apple
       certificate authority in your keychain.

       An app’s signature can be removed, and the app can be re-signed using another signing certificate. For example, Apple re-signs all apps sold on
       the App Store. Also, a fully-tested development build of your app can be re-signed for submission to the App Store. Thus the signature is best
       understood not as proof of the app’s origin but as a verifiable mark placed by the signer.

       Source: https://help.apple.com/xcode/mac/current/#/devfbe995ebf, Last accessed on Mar 19, 2020

Asana complies with Apple’s instructions on code signing as shown by Asana’s mobile app contents. Asana’s mobile apps contain files such as the file
_CodeSignature/CodeResources in Asana’s iOS apps which are generated during the code signing process as per instructions from Apple.
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Source: Contents of Asana: organize tasks & work, https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512, as an example of Asana
app, Last accessed on Mar 19, 2020

Asymmetrical key cryptography and hashing algorithms are used to create the unique digital signature for iOS mobile apps. The digital signature is
used to sign the resources in an application package, including the compiled code. The private key of an asymmetric key pair that is generated for
the digital code signing is used to code sign the app. This private key is included in the mobile app although the private key is not the claimed private
key of the claimed generated asymmetric key pair because it does not match the claimed public key used to encrypt data, based on the court’s
construction.
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                                     Hashes are created for every resource in the application package with the help of a hash algorithm. The signature manifest also has its own hash to
                                     prevent unauthorized changes. The hashes are encrypted with a private key. After the encryption is complete, the digital signature for the app is
                                     created.

                                     By signing the app binary with a digital signature, Asana’s mobile apps are tamper resistant enabling Apple and the iOS mobile devices to verify that
                                     the application is being distributed by trusted source (i.e. Asana) and that the application has not been modified by a third party, which can be
                                     verified by the corresponding public key generated as part of the pair. Thus the app binary is made resistant to modification by digital signing.

                                     Accordingly Asana’s iOS mobile apps establish SSL/TLS communications with Asana’s servers, which involve a SSL/TLS handshake procedure involving
                                     asymmetric key encryption. SSL/TLS ensures secure communication and renders the mobile app data further resistant to observation.
sending the executable tamper        Upon information and belief, the method step of sending the executable tamper resistant key module to the remote system is performed by Apple
resistant key module to the remote   and/or its agents – whose acts are attributable to Asana (i) because Asana works together with Apple in a joint enterprise in the building and
system.                              distribution of its mobile apps, or (ii) because Apple distributes and markets Asana’s mobile apps under the direction and control of Asana, or acts as
                                     agent, or on behalf of Asana, in the building, marketing and distribution of Asana’s mobile apps.

                                     Alternatively, to the extent any portion of this method step is performed by Asana, such acts are attributable to Apple, who conditions participation
                                     in and the receipt of a benefit, namely, the distribution of Asana’s mobile apps through its app store, upon compliance with certain mandatory
                                     procedures and guidelines dictated by Apple in the building and upload of Asana’s mobile apps, and Asana induces infringement by Apple in the
                                     building, marketing and distribution of Asana’s mobile apps.

                                     Asana’s mobile apps are sent or downloaded from Apple servers and are executed on iOS remote devices such as mobile phones and tablets. When a
                                     user accesses Apple App Store – and requests to download Asana app, Apple sends the executable tamper resistant key module to the remote
                                     device(s).

                                     Further, the step of “sending” Asana mobile apps to the remote system occurs via TLS/SSL communications

                                     In particular, Asana mobile apps sent to users’ remote devices are tamper resistant, resistant to observation and modification as follows:

                                         1. Resistant to Observation Because App is Downloaded in Compiled Form
                                                  Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 80 of 97 PageID 206



                                               Asana mobile apps are resistant to observation, at least in part, since Asana compiles its mobile app source code before submitting the app to Apple
                                               – and uploads the binary output of the compilation process rather than the source code itself – and hence a user can only download the compiled
                                               source code from Apple rather than the source code itself36.

                                               See, e.g., App Store Connect Help, “Submit your app for review” stating “You submit your app to App Review to start the review process for making
                                               your app available on the App Store. However, before you can submit an app to App Review, you must provide the required metadata and choose
                                               the build for the version.
                                               Before you submit an app to App Review, you choose which build (from all the builds you uploaded for a version) that you want to submit. You can
                                               associate only one build with an App Store version. However, you can change the build as often as you want until you submit the version to App
                                               Review.”

                                               Source: https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020

                                                   2. Resistant to Observation Because Download from Apple Is Over SSL/TLS

                                               Asana’s mobile apps are made further resistant to observation, at least in part, because the mobile app is securely sent or downloaded by SSL/TLS
                                               from Apple servers. Asana app users establish SSL/TLS communications with Apple App Store (for example using the URL
                                               https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512 for Asana: organize tasks & work, Last accessed on Mar 19, 2020) when
                                               downloading Asana’s iOS apps, as evidenced by the “https” in the URL. Sending the mobile app code by SSL/TLS is necessary to keep the code from
                                               being observed in transit from Apple to the user’s remote system.

                                               The secure download process starts with a TLS handshake procedure which uses asymmetric key encryption and necessitates generation of at least
                                               one asymmetric key pair. Specifically, user’s remote device negotiates with Apple the cipher suite and the key exchange algorithm that will be used
                                               for the handshake.




36
     See, e.g., https://help.apple.com/app-store-connect/#/dev301cb2b3e, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 81 of 97 PageID 207




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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                                           Each of these algorithms necessitates generating one or more asymmetric key pairs – that are in turn used to compute a shared master secret for
                                           encrypting the mobile app download.

                                           For RSA and RSA _PSK, Apple server generates an RSA public-private key pair.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Apple server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair37. The user’s remote device also generates a second Diffie-Hellman public-private key pair.

                                           For DHE_DSS and DH_DSS, Apple server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Apple server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair.




37
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 83 of 97 PageID 209




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 84 of 97 PageID 210




Source: https://tools.ietf.org/html/rfc5246 at 50-51, Last accessed on Mar 19, 2020
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Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

The generated asymmetric key pairs are then used to compute a shared master secret which is then used to encrypt the mobile app download so
that it is resistant to observation during transit.
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                                           For RSA and RSA _PSK, the RSA public-private key pair is used to encrypt a random premaster secret which is in turn used by Apple server and the
                                           user’s remote device to compute a master secret. Apple uses the master secret to encrypt the mobile app and the user’s remote device uses to
                                           decrypt the downloaded mobile app according to the TLS protocol.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Apple server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair38. The user’s remote device also generates a second Diffie-Hellman public-private key pair. Apple server uses its Diffie-Hellman private key
                                           and the user’s Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses
                                           the user’s Diffie-Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master
                                           secret that Apple uses to encrypt the mobile app and the user’s remote device uses to decrypt the downloaded mobile app according to the TLS
                                           protocol.

                                           For DHE_DSS and DH_DSS, Apple server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair. Apple server uses its Diffie-Hellman private key and the user’s Diffie-Hellman
                                           public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-Hellman
                                           private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret that Apple uses to
                                           encrypt the mobile app and the user’s remote device uses to decrypt the downloaded mobile app according to the TLS protocol.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Apple server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair. Apple server uses its Diffie-Hellman private key and the user’s
                                           Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-
                                           Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret that Apple
                                           uses to encrypt the mobile app and the user’s remote device uses to decrypt the downloaded mobile app according to the TLS protocol.

                                               3. Resistant to Modification Because Mobile App is Code Signed

                                           The downloaded mobile app code is resistant to modification, at least in part, because the downloaded app binary is code signed. Code-signing
                                           allows users’ remote systems to verify that the downloaded app binary is authentic and has not been maliciously modified by a third party. Apple

38
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
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                                               dictates that each developer must sign the mobile app submission with his/her asymmetric developer key that certifies that the app has not been
                                               modified by a third party impersonator39.


                                                       Xcode code signs your app during the build and archive process. If needed, Xcode requests a certificate and adds a signing certificate, the
                                                       certificate with its public-private key pair, to your keychain. The certificate with the public key is added to your developer account.

                                                       Source: https://help.apple.com/xcode/mac/current/#/dev3a05256b8, Last accessed on Mar 19, 2020

                                                       A signing signing certificate includes the certificate with its public-private key pair issued by Apple, and is stored in your keychain. Because the
                                                       private key is stored locally, protect it as you would an account password. An intermediate certificate is also required to be in your keychain to
                                                       ensure that your certificate is issued by a certificate authority such as Apple.
                                                       Your signing certificate is added to your keychain and the corresponding certificate is added to your developer account.

                                                       Source: https://help.apple.com/xcode/mac/current/#/dev1c7c2c67d, Last accessed on Mar 19, 2020

                                                       About Signing Identities and Certificates

                                                       Code signing (or signing) an app allows the system to identify who signed the app and to verify that the app has not been modified since it was
                                                       signed.

                                                       Signing is a requirement for uploading your app to App Store Connect and distributing it through TestFlight or the App Store. The operating
                                                       system verifies the signature of apps downloaded from the App Store to ensure that apps with invalid signatures don’t run. An app’s
                                                       executable code is protected by its signature because the signature becomes invalid if any of the executable code in the app bundle changes. A
                                                       valid signature lets users trust that the app was signed by an Apple source and hasn’t been modified since it was signed.

                                                       Xcode uses your signing certificate to sign your app during the build process. The signing certificate consists of a public-private key pair and a
                                                       certificate. The private key is used by cryptographic functions to generate the signature. The certificate is issued by Apple; it contains the public
                                                       key and identifies you as the owner of the key pair. In order to sign apps, you must have both parts of your signing certificate, and an Apple
                                                       certificate authority in your keychain.




39
     See, e.g., https://developer.apple.com/library/ios/documentation/IDEs/Conceptual/AppDistributionGuide/MaintainingCertificates/MaintainingCertificates.html, Last accessed on Mar 19, 2020
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       An app’s signature can be removed, and the app can be re-signed using another signing certificate. For example, Apple re-signs all apps sold on
       the App Store. Also, a fully-tested development build of your app can be re-signed for submission to the App Store. Thus the signature is best
       understood not as proof of the app’s origin but as a verifiable mark placed by the signer.

       Source: https://help.apple.com/xcode/mac/current/#/devfbe995ebf, Last accessed on Mar 19, 2020

Asana complies with Apple’s instructions on code signing as shown by Asana’s mobile app contents. Asana’s mobile apps contain files such as the file
_CodeSignature/CodeResources in Asana’s iOS apps which are generated during the code signing process as per instructions from Apple.
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                                               Source: Contents of Asana: organize tasks & work, https://apps.apple.com/us/app/asana-organize-tasks-work/id489969512, as an example of Asana
                                               app, Last accessed on Mar 19, 2020

                                               By signing the app binary with a digital signature, Asana’s mobile apps are tamper resistant enabling Apple and the iOS mobile devices to verify that
                                               the application is being distributed by trusted source (i.e. Asana) and that the application has not been modified by a third party, which can be
                                               verified by the corresponding public key generated as part of the pair. Thus the app binary is made resistant to modification by digital signing.

                                               Accordingly Asana’s iOS mobile apps establish SSL/TLS communications with Asana’s servers, which involve a SSL/TLS handshake procedure involving
                                               asymmetric key encryption. SSL/TLS ensures secure communication and renders the mobile app data further resistant to observation.


                                                   4. Resistant to Observation Because Mobile App is Stored on Remote System in Encrypted Form


                                               The mobile app is made further resistant to observation because when downloaded and installed on a user’s iOS mobile device, it is stored in an
                                               encrypted form. iOS implements disk encryption for encrypting the operating system software, apps and all related data on a mobile device – which
                                               further renders Asana app resistant to observation40.

                                                   5. Resistant to Observation Because Mobile App Securely Communicates with Asana Over SSL/TLS

                                               Asana’s mobile apps are made further resistant to observation, at least in part, because the mobile app communicates with Asana using SSL/TLS
                                               during operation. Asana app users establish SSL/TLS communications with Asana servers when the app is executed. Such secure communication is
                                               necessary to keep source code as well as user identity and activity from being observed in transit from the remote system to Asana servers and vice
                                               versa.

                                               The secure communications process starts with a TLS handshake procedure which uses asymmetric key encryption and necessitates generation of at
                                               least one asymmetric key pair. Specifically, user’s remote device negotiates with Asana servers the cipher suite and the key exchange algorithm that
                                               will be used for the handshake.




40
     See, e.g., https://www.apple.com/business/docs/iOS_Security_Guide.pdf, Pages 10-18, Last accessed on May 22, 2019
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 91 of 97 PageID 217




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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                                           Each of these algorithms necessitates generating one or more asymmetric key pairs – that are in turn used to compute a shared master secret for
                                           encrypting communication between Asana and user’s remote device.

                                           For RSA and RSA _PSK, Asana server generates an RSA public-private key pair.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Asana server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair41. The user’s remote device also generates a second Diffie-Hellman public-private key pair.

                                           For DHE_DSS and DH_DSS, Asana server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Asana server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair.




41
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                    Page 93 of 97 PageID 219




Source: https://tools.ietf.org/html/rfc5246 at 48-49, Last accessed on Mar 19, 2020
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Source: https://tools.ietf.org/html/rfc5246 at 50-51, Last accessed on Mar 19, 2020
Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20   Page 95 of 97 PageID 221
   Case 3:20-cv-00928-M Document 1-3 Filed 04/16/20                     Page 96 of 97 PageID 222




Source: The Transport Layer Security (TLS) Protocol Version 1.2, IETF RFC 5246, https://tools.ietf.org/html/rfc5246, Last accessed on Mar 19, 2020

The generated asymmetric key pairs are then used to compute a shared master secret which is then used to encrypt subsequent communications
between Asana and the user’s remote device so that they are resistant to observation during transit.
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                                           For RSA and RSA _PSK, the RSA public-private key pair is used to encrypt a random premaster secret which is in turn used by Asana server and the
                                           user’s remote device to compute a master secret. Asana and the user’s remote device use the master secret for encrypting and decrypting
                                           communication messages.

                                           For DHE_RSA, ECDHE_RSA, DH_RSA and ECDH_RSA, Asana server generates an RSA public-private key pair as well as a Diffie-Hellman public-private
                                           key pair42. The user’s remote device also generates a second Diffie-Hellman public-private key pair. Asana server uses its Diffie-Hellman private key
                                           and the user’s Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses
                                           the user’s Diffie-Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master
                                           secret for encrypting and decrypting communication messages.

                                           For DHE_DSS and DH_DSS, Asana server generates a DSA public-private key pair as well as a Diffie-Hellman public-private key pair. The user’s remote
                                           device also generates a second Diffie-Hellman public-private key pair. Asana server uses its Diffie-Hellman private key and the user’s Diffie-Hellman
                                           public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-Hellman
                                           private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret for encrypting and
                                           decrypting communication messages.

                                           For ECDH_ECDSA and ECDHE_ECDSA, Asana server generates an ECDSA public-private key pair as well as a Diffie-Hellman public-private key pair. The
                                           user’s remote device also generates a second Diffie-Hellman public-private key pair. Asana server uses its Diffie-Hellman private key and the user’s
                                           Diffie-Hellman public key to compute a premaster secret, and subsequently compute a master secret. The user’s remote device uses the user’s Diffie-
                                           Hellman private key and Apple’s Diffie-Hellman public key to compute the same premaster secret and subsequently the master secret for encrypting
                                           and decrypting communication messages.




42
  ECDH and ECDHE algorithms require generating at the server and the client, elliptical curve parameters that constitute a Diffie-Hellman public-private key pair. See, for example,
https://tools.ietf.org/html/rfc5246 page 49-52, https://tools.ietf.org/html/rfc7525 page 12, http://www.cse.hut.fi/fi/opinnot/T-110.5241/2011/luennot-files/Network%20Security%2004%20-%20TLS.pdf,
http://csrc.nist.gov/groups/STM/cmvp/documents/140-1/140sp/140sp2897.pdf, http://www.networkworld.com/article/2268575/lan-wan/chapter-2--ssl-vpn-technology.html,
http://homes.esat.kuleuven.be/~fvercaut/papers/ACM2012.pdf, Implementing SSL / TLS Using Cryptography and PKI by Joshua Davies, ISBN 1118038770, 9781118038772, Page 305 and Introduction to Computer
Networks and Cybersecurity By Chwan-Hwa (John) Wu, J. David Irwin, ISBN
1466572140, 9781466572140, Page 1021, which state that ECDH requires generating a Diffie-Hellman public-private key pair, Last accessed on Mar 19, 2020
